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                             UNITED STATES COURT OF INTERNATIONAL TRADE
                                         One Federal Plaza
                                   New York, New York 10278-0001

  CHAMBERS OF
MARK A. BARNETT
  CHIEF JUDGE




                                                                                 June 14, 2021
Via CM/ECF
                Re: In Re Section 301 Cases
                Court No. 21-00052-3JP

Dear Counsel:
        The court appreciates the efforts the parties have made to identify and address
the relevant issues in their briefs. In preparation for the oral argument in this matter,
scheduled for June 17, 2021, at 10:00 a.m., the court would like parties to be prepared
to address the following questions. When questions are posed to specific parties, all
parties participating in the hearing will be afforded the opportunity to comment.
      Any inquiries about utilizing WebEx for the oral argument that were not otherwise
addressed during this morning’s test session should be directed to Geoffrey Goell, case
manager, at (212) 264-2973 before the scheduled oral argument. I encourage you to
address any technical issues with him and the court’s information technology staff as
soon as possible.

Questions for the Parties:

   1. This case requires the court to consider the scope of its remedial authority
       pursuant to 28 U.S.C. § 2643. Subsection (c)(1) of that provision confers
       discretion on the court to decide what form of relief “is appropriate in a civil
       action.” Please identify any cases in which the U.S. Court of Appeals for the
       Federal Circuit found that the CIT erred in its exercise of discretion as to
       appropriate relief and provide citations.

   2. In light of Plaintiffs’ position that this court has the authority to provide relief either
       by ordering reliquidation or a money judgment, please address how any
       uncertainty as to that authority establishes that Plaintiffs are likely to suffer
       irreparable harm in the absence of preliminary relief as articulated by the
       Supreme Court of the United States in Winter v. Natural Resources Defense
       Council, 555 U.S. 7, 22 (2008).

   3. If the purpose of preliminary injunctive relief is to prevent the loss of something
       which cannot be remedied by a money judgment, does the Defendant’s position
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      that the court cannot order reliquidation nor order a money judgment strongly
      support a finding of irreparable harm?

   4. While the Government indicates it would appeal any decision by this court that
      reliquidation is an available remedy pursuant to 28 U.S.C. § 2643(c)(1) in the
      event Plaintiffs prevail on the merits, please address the court’s authority to
      instead enter a money judgment pursuant to 28 U.S.C. § 2643(a)(1).

                                                      Very truly yours,



                                                      /s/    Mark A. Barnett
                                                      Mark A. Barnett, Chief Judge
                                                      For the Panel
